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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE



Brendan Kelly

     v.                                Civil No. 15-cv-234-JL

Liberty Insurance Corporation


                               PROCEDURAL ORDER


     The bench trial in this matter will commence February 13,

2018 at 9:00 a.m. in Courtroom 2.         On or before January, 22,

2018, each party shall file:

     A.      The materials required by Rule 26(a)(3)(A) of the

Federal Rules of Civil Procedure and Local Rule 16.2(a);

     B.      Any motions in limine (keeping in mind that the case

will be tried without a jury);

     C.      A jointly filed, joint statement of agreed-upon facts.

Counsel shall confer (preferably in person, or else by

telephone) in a good-faith effort to identify all areas of

agreement and to make the statement of facts and timeline (see

below) as comprehensive as possible, so that open court

testimony can focus on matters truly in dispute.            Counsel are

expressly discouraged from simply “recycling” factual statements

submitted during previous motion practice in this case; and
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      D.      A jointly filed, joint timeline of significant events

setting forth all pertinent dates, times, and events, in

whatever format the parties jointly choose (in other words, the

parties need not comply with Local Rule 5.1(a) (font, type size,

graphics) with respect to the timeline).

      On or before January 26, 2018, each party shall file the

trial memorandum (not to exceed 25 pages) and request for

findings of fact and rulings of law required by Local Rule

16.2(b)(2).

      On or before January 29, 2018 at 3pm, each party shall file

any objections to the other side's final pretrial materials, as

provided by Rule 26(a)(3)(B) and Local Rule 16.2(d).              The final

pretrial conference in this matter shall take place on January

30, 2018 at 2:00 p.m.

      SO ORDERED.



                                      ____________________________
                                      Joseph N. Laplante
                                      United States District Judge
Dated:     December 29, 2017

cc:   Robert A. Stein, Esq.
      Diane P. Hock, Esq.
      Nancy D. Adams, Esq.
      Lavinia M. Weizel, Esq.
      John B. Schulte, Esq.
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